AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                           JUDGMENT IN A CRIMINAL CASE
                                                                                   (For Revocation of Probation or Supervised Release)
          V.                                                                       (For Offenses Committed On or After November 1, 1987)

                                                                                   Case Number: DNCW 394CR000126-013
Robert Eugene Johnson                                                              USM Number:

                                                                                   Alicia DeLaney Brooks
                                                                                   Defendant’s Attorney


THE DEFENDANT:

X         admitted guilt to violation of condition(s) 1-3, Addendum 4 of the term of supervision.
          W as found in violation of condition(s) count(s)       After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):


                                                                                                         Date Violation
 Violation Number                     Nature of Violation                                                Concluded

 1                                    Drug/Alcohol Use                                                   2/29/2012

 2                                    Failure to Comply with Drug Testing/Treatment                      3/1/2012
                                      Requirements

 3                                    Failure to Maintain Lawful Employment                              7/27/2012

 Addendum 4                           Failure to Comply with Drug Testing/Treatment                      9/20/2012
                                      Requirements

       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

          The Defendant has not violated condition(s)                         And is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant’s economic circumstances.

                                                                                   Date of Imposition of Sentence: 10/24/2012



                                                                                      Signed: November 13, 2012




               Case 3:94-cr-00126-MOC-SCR                           Document 462             Filed 11/13/12         Page 1 of 3
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



Defendant: Robert Eugene Johnson                                                                       Judgment-Page 2 of 3
Case Number: DNCW 394CR000126-013

                                                                  IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of EIGHT (8) MONTHS..




          The Court makes the following recommendations to the Bureau of Prisons:

X         The Defendant is remanded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               as notified by the United States Marshal.

                                at___a.m. / p.m. on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               as notified by the United States Marshal.

                                before 2 p.m. on ___.

                               as notified by the Probation Office.

                                                                       RETURN

          I have executed this Judgment as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgment.


                                                              ___________________________________________
                    United States Marshal


                                                   By: _______________________________________
                                                                 Deputy Marshal




               Case 3:94-cr-00126-MOC-SCR                           Document 462   Filed 11/13/12   Page 2 of 3
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



Defendant: Robert Eugene Johnson                                                                       Judgment-Page 3 of 3
Case Number: DNCW 394CR000126-013

                                                    STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
possession of a firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




               Case 3:94-cr-00126-MOC-SCR                           Document 462   Filed 11/13/12   Page 3 of 3
